
Bat, J.
Upon the argument in this case, I confess I had a strong leaning in favor of a new trial, on the strong ground of mutual and reciprocal justice ; and the case from Edgefield; did not appear to me to- come fully up to this case, for that was a larceuy ; and it is a maxim of law, that no one shall be tried twice for the same of-fence, or his life or person brought again into jeopardy, where there has once been an acquittal.
This, however, is the case of a misdemeanor, in which neither the life nor body can be called in question ; only a pecuniary fine, and probably imprisonment till the fine is paid. I was, therefore, *422Under the impression that a greater latitude might be allowed in this latter case, than in cases of felony. But upon looking into the cases in the books, I find that the same rulé holds good in all cases upon penal statutes, and upon indictments and informations for misdemeanors, as well as felonies.
In the case of Seemour, qui tam v. Day, Str. 899, an action on a penal statute, the jury found a verdict for defendant, contrary to the direction of the judge ; anew trial was moved for and.refused, on account of the action being a penal one. 1 Burn. 316, to same point. So also on the statute against horse racing, jury found á verdict contrary to evidence, yet on motion for a new trial, it w.as refused. 2 Str. 1238. 6 Bac. Tit. Trial, 647. So also upon indictments and informations for misdemeanor’s, the same rule of law prevails. 6 Bac. Tit. Trial, 675.
If the defendants, on an indictment or information, have been acquitted, the court will not grant a new trial, notwithstanding the verdicts were contrary to evidence. 1 Sid. 154. Lord Raym. 63. 12 Mod. 9
A new trial was moved for, after an acquittal on an indictment for a libel, "because the verdict was against evidence. And by the court, “ a new', trial ought not to be granted, after an acquittal in a criminal case, unless the defendant has been guilty of unfair practice.” Salk. 646. The King v. Bear.
So also in an information for a riot, where defendant was acquit, ted, a new trial w'as refused, although the verdict was, in the opinion of the judge, contrary to evidence; because it did not appear that the verdict was obtained by any unfair practice of the defendant. 1 Show, 336. 12 Mod. 9. Bac. tit. Trial, 675.
For the reasons above given, and upon the authority of the fore, going cases, I am against a new trial in the case under consideration ; and the more especially as no unfair practices have been alleged against these defendants.
All the judges concurred.
